        Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 1 of 25
                 E-FILED 2023 JAN 04 11:37 AM PAGE - CLERK OF DISTRICT COURT




               IN THE IOWA DISTRICT COURT IN AND FOR PAGE COUNTY

                                               )
CITY OF ESSEX, IOWA,                           )
a Municipal Corporation,                       )
                                               )
                                  Petitioner   )
vs.                                            )
                                               )
Larry C. Glasgo aka Larry Clark Glasgo,        )
deceased                                       )
811 South Ave.                                 )
Essex, IA 51638                                )
                                               )
Lorna R. Glasgo aka Lorna Rae Glasgo,          )
deceased                                       )
811 South Ave.                                 )
Essex, IA 51638                                )
                                               )        No. ______________
Secretary of Housing and Urban Development     )
451 Seventh Street, S.W.                       )
Washington, D.C. 20410                         )        ORIGINAL NOTICE
                                               )
ACC 944 LLC                                    )
Todd Queck, Registered Agent                   )
3161 SE 22nd St.                               )
Des Moines, IA 50320                           )
                                               )
Attorney General                               )
Merrick B. Garland                             )
US Dept. of Justice                            )
950 Pennsylvania Ave. N.W.                     )
Washington, D.C. 20530-0001                    )
                                               )
Sonya Cannon, daughter                         )
5106 S. 163rd St.                              )
Omaha, NE 68135                                )
                                               )
Susan Isaacson, daughter                       )
2555 P Ave.                                    )
Stanton, IA 51573                              )
                                               )
Lots 849 and 350 in Original Plat of City of   )
ESSEX, Page County, IA                         )
(Address: 811 South Ave. Essex, IA 51638)      )
Tax Parcel 01-26-383-140-000                   )
       Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 2 of 25
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       TO THE ABOVE-NAMED RESPONDENTS:

        You are notified that a Petition for Entry of Judgment Awarding Title To Abandoned
Property To the City of Essex, IA has been filed in the office of the Clerk of Court naming you as
Respondent in this action. A copy of the Petition (and any documents filed with it) is attached to
this notice. The attorney for the Petitioner is Mahlon L. Sorensen, City Attorney, whose address is
301 Maple Street, PO Box 287, Shenandoah, IA 51601-0287, telephone number 712-246-1924,
facsimile 712-246-1925, email mahlonsor@hotmail.com.

        You must serve a motion or answer within 20 days after service of this Original Notice
upon you and within a reasonable time thereafter, file your motion or answer with the Clerk of
Court for Page County, at the county courthouse in Clarinda, IA. If you do not, judgment by
default may be rendered against you for the relief demanded in the Petition.

        If you require assistance of auxiliary aids or services to participate in court because of a
disability, immediately call your district ADA coordinator at 712-328-5883. (If you are hearing
impaired, call Relay Iowa TTY at 1-800-735-2942.



                                                    CLERK OF COURT
                                                    Page County Courthouse
                                                    Clarinda, IA 51632


                                          IMPORTANT

YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR
INTERESTS.
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Iowa Judicial Branch                                               Case No.       EQCV105993
                                                                   County         Page

Case Title     CITY OF ESSEX VS LARRY CLARK GLASGO ETAL

You must file your Appearance and Answer on the Iowa Judicial Branch eFile System, unless the attached Petition and
Original Notice contains a hearing date for your appearance, or unless the court has excused you from filing electronically
(see Iowa Court Rule 16.302).

Register for the eFile System at www.iowacourts.state.ia.us/Efile to file and view documents in your case and to receive
notices from the court.

For general rules and information on electronic filing, refer to the Iowa Rules of Electronic Procedure in chapter 16 of the
Iowa Court Rules at www.legis.iowa.gov/docs/ACO/CourtRulesChapter/16.pdf.

Court filings are public documents and may contain personal information that should always be kept confidential. For the
rules on protecting personal information, refer to Division VI of chapter 16 of the Iowa Court Rules and to the Iowa
Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




If you need assistance to participate in court due to a disability, call the disability access coordinator at (712) 328-5883 .
Persons who are hearing or speech impaired may call Relay Iowa TTY (1-800-735-2942). For more information, see
www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 01/04/2023 11:47:25 AM




District Clerk of Court or/by Clerk's Designee of Page        County
 /s/ Jaime Cox
        Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 4 of 25
                 E-FILED 2023 JAN 04 11:37 AM PAGE - CLERK OF DISTRICT COURT




               IN THE IOWA DISTRICT COURT IN AND FOR PAGE COUNTY

                                               )
CITY OF ESSEX, IOWA,                           )
a Municipal Corporation,                       )
                                               )
                                  Petitioner   )
vs.                                            )
                                               )
Larry C. Glasgo aka Larry Clark Glasgo,        )
deceased                                       )
811 South Ave.                                 )
Essex, IA 51638                                )
                                               )
Lorna R. Glasgo aka Lorna Rae Glasgo,          )
deceased                                       )
811 South Ave.                                 )
Essex, IA 51638                                )
                                               )         No. ______________
Secretary of Housing and Urban Development     )
451 Seventh Street, S.W.                       )
Washington, D.C. 20410                         ) PETITION FOR ENTRY OF JUDGMENT
                                               )      AND AWARDING TITLE TO
ACC 944 LLC                                    )    ABANDONED PROPERTY AND
Todd Queck, Registered Agent                   ) CONTENTS TO THE CITY OF ESSEX,
3161 SE 22nd St.                               )                IOWA
Des Moines, IA 50320                           )
                                               )
Attorney General                               )
Merrick B. Garland                             )
US Dept. of Justice                            )
950 Pennsylvania Ave. N.W.                     )
Washington, D.C. 20530-0001                    )
                                               )
Sonya Cannon, daughter                         )
5106 S. 163rd St.                              )
Omaha, NE 68135                                )
                                               )
Susan Isaacson, daughter                       )
2555 P Ave.                                    )
Stanton, IA 51573                              )
                                               )
Lots 849 and 350 in Original Plat of City of   )
ESSEX, Page County, IA                         )
(Address: 811 South Ave. Essex, IA 51638)      )
Tax Parcel 01-26-383-140-000                   )
       Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 5 of 25
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               COMES NOW the Petitioner in the above-captioned matter and for Petition to
Obtain Title to Abandoned Property states as follows, to-wit:

   1. The Petitioner is a municipal corporation in the State of Iowa. This action is brought
       pursuant to Iowa Code Section 657A.10A-B.

   2. The Petition herein having been filed by governmental entity, the clerk of the district court
       is requested to index the petition pursuant to Section 617.10.-11.

   3. The property which is the subject matter of this suit is 811 South Ave. Essex, IA and
       legally described as: Lots 849 and 850 in Original Plat of City of ESSEX, Page County,
       Iowa.

   4. There is situated upon this property a building that is abandoned by Larry Clark Glasgo and
       Lorna Rae Glasgo within the meaning of Iowa Code Section 657A.1A.through 657A.10
       and 657A.10B to-wit:

               a. The property is in the name of Respondents Larry Clark Glasgo and Lorna Rae
                  Glasgo. The property has not been occupied by the said Respondents or anyone
                  else for more than 6 months.

               b. Respondents have failed to secure the property and it is unsafe and an attractive
                  nuisance.

               c. The property is vacant and continues to deteriorate.

               d. The water service has been off with no water provided for months.

   5. Respondents Larry Clark Glasgo and Lorna Rae Glasgo appear as titleholders. Both
       Respondents are deceased. Death ID #1874046 in the Electronic Death Registration System
       (EDRS) from the Iowa Department of Public Health, accessible on the computer in the
       Office of the Recorder of Page County, Iowa, shows that Lorna Rae Glasgo died on 29
       December 2019, in Page County, Iowa. Death ID #1874046 in the Electronic Death
       Registration System (EDRS) from the Iowa Department of Public Health, accessible on the
       computer in the Office of the Recorder of Page County, Iowa, shows that Larry Clark
       Glasgo died on 19 August 2021, in Page County, Iowa.
   Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 6 of 25
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6. On December 20, 2022 the City of Shenandoah mailed a Notice to Abate Abandoned
   Building to the two daughters, Sonya Cannon and Susan Isaacson of Larry Clark Glasgo
   and Lorna Rae Glasgo. A copy of the letter is attached as Petitioner’s Exhibit “A”.
   Respondents Sonya Cannon and Susan Isaacson did not request a hearing before the City
   Council and have made no effort to set forth an abatement plan. The two daughters are the
   sole surviving heirs of Larry Clark Glasgo and Lorna Rae Glasgo. These Respondents may
   claim and interest in the property, but whatever claim they may or may not claim is junior
   and inferior to the interest of the Petitioner.

7. Respondent The Secretary of Housing and Urban Development may claim an interest in the
   property via Closed-End Fixed Rate Home Equity Conversion Mortgage Dated 19 April
   2011 Filed 29 April 2011 Document No. 20110856 Secures $187,500 Due 9 May 2093 and
   assigned to the Secretary of Housing and Urban Development, its successors and assigns
   assigning mortgage recorded as Document No 20110856 Dated 13 September 2019 Filed
   21 February 2020 as Document No. 20200405, and Closed-End Fixed Rate Home Equity
   Conversion Second Mortgage Dated 19 April 2011 Filed 29 April 2011 Document No.
   20110857 Secures: $187,500 Due 9 May 2093 covering Lots 849 and 850 in the Original
   Plat of the Town of Essex, Page County, Iowa. Whatever interest claimed by this
   Respondent is junior and inferior to the interest of the Petitioner.

8. Respondent ACC 944 LLC may claim an interest in the property but whatever claim they
   may or may not claim is junior and inferior to the interest of the Petitioner. ACC 944 LLC
   may claim an interest via Certificate of Purchase at Tax Sale No 2022-00116 issued 20
   June 2022 to ACC 944 LLC for total amount of $1,402.00 for second installment of taxes
   for Fiscal Year 2020-2021 payable in 2021-2022 plus interest and costs.

9. Pursuant to Iowa Code §657A.10A and 10B, Petitioner is entitled to judgment awarding
   title free and clear of any claims, liens, or encumbrances held by the Respondents. This
   case is an action in rem.

10. The Petitioner is requesting that the Court find that the property has been abandoned and
   that the Court enter judgment awarding title of the entire property including personal
   property to the Petitioner free and clear of all liens and encumbrances.
         Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 7 of 25
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               WHEREFORE, Petitioner prays that the Court determine and declare that the
Property both real and personal property referenced above has an abandoned property thereon and
therein pursuant to Iowa Code §657A.10A and 10B; that all parties with an interest in the property
referenced above have received proper notice of this Petition and the pendency of this proceeding
and that after sixty (60) days have passed Petitioner may request a hearing on this Petition, and that
with or without a hearing, the Court enter judgment against the Respondent awarding title to the
Property to the Petitioner, the City of Essex, Iowa, free and clear of any claims, liens, or
encumbrances held by the Respondent and for such other relief as the Court deems just and
equitable and that the Clerk of Court is directed to execute a Certificate of Change of Title
showing the City of Essex as the Title Holder to said property fully legally described as Lots 849
and 850 in Original Plat of City of Essex, Page County, IA. (commonly known as 811 South
Ave.).

                                                       City of Essex, Iowa, Petitioner

                                                       By       /s/ Mahlon L. Sorensen
                                                               Mahlon L. Sorensen, AT0000321
                                                               Attorney for City of Essex, IA
                                                               301 Maple – P.O. Box 287
                                                               Shenandoah, IA 51601
                                                               Telephone: 712-246-1924
                                                               Fax: 712-246-1925


                                           IMPORTANT

YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR
INTERESTS.
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                              IN THE IOWA DISTRICT COURT
                                IN AND FOR PAGE COUNTY

CITY OF ESSEX, IOWA,                             )
                                                 )   Equity No. EQCV105993
       Plaintiff,                                )
                                                 )
       v.                                        )   APPEARANCE
                                                 )
LARRY CLARK GLASGO, et al.,                      )
                                                 )
       Defendants.                               )


       COMES NOW Jason R. Lawrence, Assistant United States Attorney, and hereby enters

his Appearance on behalf of the United States of America in the above-captioned action.

                                                     Respectfully submitted,

                                                     Richard D. Westphal
                                                     United States Attorney


                                                By: /s/Jason R. Lawrence
                                                    Jason R. Lawrence AT0013301
                                                    Assistant United States Attorney
                                                    U.S. Courthouse Annex, Suite 286
                                                    110 E. Court Avenue
                                                    Des Moines, Iowa 50309
                                                    Telephone: (515) 473-9309
                                                    Facsimile: (515) 473-9282
                                                    Email: usaias.nefiadc@usdoj.gov

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 23, 2023, I electronically filed the foregoing
with the Iowa District Court, Page County Clerk of Court using the Electronic Document
Management System, and a true copy of the foregoing was served either electronically or by U.S.
First Class Mail upon the following:

Mahlon Sorensen
                                                     /s/Jason R. Lawrence
                                                     Jason R. Lawrence
                                                     Assistant U.S. Attorney
     Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 20 of 25
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                               IN THE IOWA DISTRICT COURT
                                 IN AND FOR PAGE COUNTY

CITY OF ESSEX, IOWA,                              )
                                                  )   Equity No. EQCV105993
       Plaintiff,                                 )
                                                  )
       v.                                         )   UNITED STATES= MOTION FOR
                                                  )   EXTENSION OF TIME TO FILE
LARRY CLARK GLASGO, et al.,                       )   ANSWER OR RESPONSE
                                                  )
       Defendants.                                )


       COMES NOW the United States of America, for its agency, the Department of Housing

and Urban Development, by Jason R. Lawrence, Assistant United States Attorney for the Southern

District of Iowa, and respectfully requests an extension of time within which to move or plead and

pursuant to Iowa Rule of Civil Procedure 1.441(6) states:

       1. The Parties are presently attempting to resolve this matter without court intervention.

       2. An answer to the Petition is due to the Court on May 23, 2023.

       3. No previous motions for an extension have been filed.

       4. There are no other court-imposed deadlines.

       5. An extension of time will not pose a hardship on the parties.

       6. Counsel for Plaintiff does not oppose the requested extension.

       WHEREFORE, the Defendant respectfully prays that the Court grant an extension of time

to and including June 6, 2023, to respond to Plaintiff's Petition.
     Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 21 of 25
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                                                 Respectfully submitted,


                                                     Richard D. Westphal
                                                     United States Attorney


                                                By: /s/Jason R. Lawrence
                                                    Jason R. Lawrence AT0013301
                                                    Assistant United States Attorney
                                                    U.S. Courthouse Annex, Suite 286
                                                    110 E. Court Avenue
                                                    Des Moines, Iowa 50309
                                                    Telephone: (515) 473-9309
                                                    Facsimile: (515) 473-9282
                                                    Email: usaias.nefiadc@usdoj.gov


                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on May 23, 2023, I electronically filed the foregoing
with the Iowa District Court, Page County Clerk of Court using the Electronic Document
Management System, and a true copy of the foregoing was served either electronically or by U.S.
First Class Mail upon the following:

Mahlon Sorensen

                                                     /s/Jason R. Lawrence
                                                     Jason R. Lawrence
                                                     Assistant U.S. Attorney




                                                2
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                                    CLERK OF DISTRICT COURT                 Page 1 of 2



                                IN THE IOWA DISTRICT COURT
                                  IN AND FOR PAGE COUNTY

CITY OF ESSEX, IOWA,                               )
                                                   )      Equity No EQCV105993
       Plaintiff,                                  )
                                                   )
       v.                                          )      ORDER
                                                   )
LARRY CLARK GLASGO, et al.,                        )
                                                   )
       Defendants.                                 )


      This matter comes before the Court on the Motion for Extension of Time filed by the

Defendant, United States of America, for its agency, the Department of Housing and Urban

Development. The Court, having examined the Motion and being fully advised in the premises,

now finds that said Motion should be granted.

      IT IS THEREFORE ORDERED that the Defendant shall have to and including June 6, 2023,

in which to respond to the Plaintiff's Petition herein.


Copies to:

Mahlon Sorensen
Jason Lawrence
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                                               State of Iowa Courts
Case Number                     Case Title
EQCV105993                      CITY OF ESSEX VS LARRY CLARK GLASGO ETAL
Type:                           OTHER ORDER
                                                          So Ordered




Electronically signed on 2023-05-23 10:26:43
            Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 24 of 25


                       IOWA DISTRICT COURT IN AND FOR PAGE COUNTY


      CITY OF ESSEX

                                                               CASE NO: 04731 EQCV105993
VS.
                                                                  NOTICE OF CIVIL TRIAL-
                                                                  SETTING CONFERENCE
SECRETARY OF HOUSING & URBAN                                   (Use of this form is mandatory.)
DEVELOPMENT
SONYA CANNON
SUSAN L ISAACSON
US DEPARTMENT OF JUSTICE
ACC 944 LLC
LORNA RAE GLASGO
LARRY CLARK GLASGO




  To the parties or their attorneys of record:

  In accordance with Iowa Rule of Civil Procedure 1.906, notice is hereby given that a * Trial
Scheduling Conference is scheduled on 06/27/2023 at 10:15 AM at the DIRECTIONS BELOW
INDICATED FOR SCHEDULING CONFERENCE.
*This date shall be no earlier than 35 days after and not later than 50 days after any Defendant/
Respondent has answered or appeared unless set sooner by special order on application of one or
more parties.

  This conference shall be held:

By telephone with Court Administration's conference line. All Attorneys/Pro Se Parties shall
contact the court at 1-877-304-9269 then enter conference code 527612 with Marsha Weberg,
Asst Court Administration, when prompted.              Attorneys for all parties appearing in the case
shall participate at this conference. Parties not represented by counsel shall participate in this
conference.

 Recording or rebroadcasting of a court proceeding held by video or telephone conference,
including pictures, screenshots, or other visual or audio copying, is prohibited absent an
expanded news media coverage order. Any violation may result in contempt of court or other
sanctions. Please note judicial branch staff may be recording this proceeding.


  At this trial-setting conference, every case will be set for trial within the time periods provided by
Iowa Court Rules Chapter 23, Time Standards for Case Processing.
            Case 1:23-cv-00015-RGE-SBJ Document 1-1 Filed 06/06/23 Page 25 of 25


  Prior to the trial-setting conference, the parties must file a Trial Scheduling
and Discovery Plan, Iowa Court Rule 23.5-Form 2 (Form 3 for Expedited Civil
Actions).

   In judicial districts that allow it, the parties may, in lieu of holding a trial-setting conference, first file
their Trial Scheduling and Discovery Plan and then, prior to the date scheduled for the trial-setting
conference, obtain a trial date from court administration that complies with the provisions of Chapter
23. The date will be entered by the Court on the Trial Scheduling and Discovery Plan.

  The trial date that is agreed upon at this conference shall be a firm date. Continuances will not be
granted, even if all parties agree, unless for a crucial cause that could not have been foreseen.

  The Clerk of Court shall notify all counsel of record and parties not represented by counsel.

                                                               /s/ Allison Hoke, Judicial Specialist
                                                               712-328-4714

If you need assistance to participate in court due to a disability, call the disability coordinator at (712)
328-4753 or information at https://www.iowacourts.gov/for-the-public/ada/. Persons who are hearing
or speech impaired may call Relay Iowa TTY (1-800-735-2942). Disability coordinators cannot
provide legal advice.
